                       So Ordered.

       Dated: July 21st, 2021
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              6
                                        UNITED STATES BANKRUPTCY COURT
              7                         EASTERN DISTRICT OF WASHINGTON

              8   In re                                          Chapter 11

              9   EASTERDAY RANCHES, INC., et al.                Lead Case No. 21-00141-WLH11
                                                                 Jointly Administered
             10                                  Debtors. 1
             11
                  EASTERDAY RANCHES, INC., and                   Adv. Proc. No. 21-80044-WLH
             12   EASTERDAY FARMS,

             13                                  Plaintiffs,     EX PARTE ORDER EXTENDING
                          vs.
                                                                 CERTAIN DEADLINES
             14
                  RABO AGRIFINANCE LLC,
             15
                                                 Defendant.
             16

             17           THIS MATTER came before the court upon the Ex Parte Stipulated Motion to
             18   Extend Certain Deadlines (the “Motion”), 2 jointly submitted by Easterday Ranches,
             19   Inc. (“Ranches”) and Easterday Farms (“Farms”), the debtors and debtors in possession
             20   and plaintiffs in the above-captioned adversary proceeding (the “Debtors”), and Rabo
             21   Agrifinance LLC (“Rabo”), the defendant herein. The court has reviewed the Motion
             22   and the record and files herein, and finds cause exists to grant the requested relief. Now,
             23   therefore, it is hereby
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                    The Debtors along with their case numbers are as follows: Easterday Ranches, Inc., (21-00141-
             25   WLH11) and Easterday Farms, a Washington general partnership (21-00176-WLH11).
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                    Capitalized terms not defined herein shall have their meanings as ascribed in the Motion unless
             26   otherwise indicated.
             27                                                                               B USH K ORNFELD
                      EX PARTE ORDER EXTENDING                                                                          LLP

             28       CERTAIN DEADLINES – Page 1                                                      LAW OFFICES
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                  21-80044-WLH     Doc 21     Filed 07/21/21   Entered 07/21/21 08:51:29       Pg 1 of 2
              1         ORDERED as follows:
              2         1.     The Motion [ECF No. 18] is granted.
              3         2.     The Hearing on the TRO Motion is continued to August 25, 2021 at 1:30
              4   p.m. Pacific Time.
              5         3.     The deadline for Rabo to file a written response or objection to the TRO
              6   motion is extended to August 16, 2021.
              7         4.     The deadline for Rabo to file an answer or other responsive pleading to the
              8   Complaint is extended to August 27, 2021.
              9         5.     Notwithstanding anything to the contrary in the Bankruptcy Code, the
             10   Bankruptcy Rules, or the Local Rules of the United States Bankruptcy Court for the
             11   Eastern District of Washington to the contrary, this order shall be effective upon entry.
             12                                   /// END OF ORDER ///
             13   Presented by:
             14   /s/ Thomas A. Buford, III
             15   THOMAS A. BUFORD, III (WSBA #52969)
                  BUSH KORNFELD LLP
             16
                  RICHARD M. PACHULSKI (admitted pro hac vice)
             17   JEFFREY W. DULBERG (admitted pro hac vice)
                  JASON H. ROSELL (admitted pro hac vice)
             18   PACHULSKI STANG ZIEHL & JONES LLP
             19   Attorneys for Plaintiffs and Debtors and Debtors in Possession
             20   Stipulated by:
             21   /s/ David H. Leigh
             22   DAVID H. LEIGH (WSBA #40031)
                  MICHAEL R. JOHNSON (admitted pro hac vice)
             23   RAY QUINNEY & NEBEKER P.C.
             24   Attorneys for Defendant Rabo Agrifinance LLC
             25

             26

             27                                                                          B USH K ORNFELD
                   EX PARTE ORDER EXTENDING                                                                        LLP

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                  21-80044-WLH     Doc 21   Filed 07/21/21   Entered 07/21/21 08:51:29    Pg 2 of 2
